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                     IN THE UNITED STATi7511Wii
                                              n &T COURT FOR THE
                             MIDDLE DISTRICT OF ALABAMA
                                        4'8 DEC 28 P 14: fAIVISION
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Jeny D, West     p      Sr
                         ;                   EilS1;5.CTCOURT
                                       ILL-j1 E DISTRICT 'ALA
                                                 )
                                                 )
       Plaintiff(s),                             )     CIVIL ACTION NO. 2:18-cv-1078 -MHT-WC
                                                 )
                                                 )     JURY DEMAND(IVIARK ONE)
                                                 )
        V.                                     )       OYES            EN)
Hyundai Motor Manufacturing Of Alabama(HMI     )
                                               )
                                               )
       Defendant(s).

                                             COMPLAINT

1.     Plaintiff(s)' address and telephone number:5120 Nancy Ct 334-612-2000_



2.     Name and address ofdefendangs):Hyundai Motor Manufacturing Of Alabama 700 Hyundai Blvd. Mont




3.     Place of alleged violation ofcivil rights:Am Hyundai Blvd. Montgomery, AL 36105


4.     Date of alleged violation of civil rights:25 Jun 2012 to 13 Mar 2018

5.     State the facts on which you base your allegation that your constitutional rights have been
       violated:See APPendix




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6.     Relief requested:Punitive and compensatory payment of $840,000(14 year eamings)




Date:28 Dec 2018

                                                       Pi intiff(s) Signature

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                                       Appendix I
The nature of my complaint, i.e., the manner in which the individual(s)named above discriminated
against me in terms ofthe condition of my employment, is as follows

       1. Violation of Hyundai Motor Manufacturing Of Alabama(from now on referred to as
      "HMMA")Serious Misconduct Policy by not consistently requiring a high degree of personal
      integrity from all Team Members.

       2. Violation ofthe General Provisions ofthe HMMA Misconduct Policy regarding the
          issuance ofa Serious Misconduct Letter

       3. Violation ofthe General Provisions ofthe HMMA Misconduct Policy regarding the list of
          activities that constitute Serious Misconduct at HMIvIA such as:

          a. Allowing the threatening or fighting on HMMA's premises(Wade Humphries)
          b. Misrepresenting or falsifying any information concerning employment or any report or
          HMMA record (Patrick Porter, Dan Smith & Wade Humphries)
          c. Violation ofHMMA Equal Employment or Harassment Policies.
          d. Deliberately trying to conceal serious quality problems in HMMA products(Wade
          Humphries)
          e. Allowing Team Members (specifically, Derek Bynum)to spread false, or malicious
          rumors or slandering or libeling a fellow Team Member

          4. Violation ofHMMA Anti Harassment Policy by Robert Stinson by his innuendoes,
             jokes,comments,slurs & graphic commentary about an individual's body which are
             either sexual in nature or directed at a person's gender.

          5. Violation ofHIvIMA Anti Harassment policy by preventing the reporting ofany
             harassment(by Wade Humphries)


          6. Violation of HMMA Anti Harassment Policy by not promptly investigating complaints of
          harassment(by Wade Humphries)

          7. Violation of The Occupational Safety and Health Act(OSHA)Section 5(a)(1), the
          General Duty Clause ofthe Act, by not providing employees with a workplace free from
          recognized hazards likely to cause death or serious physical harm

          8. Failure to respond to 2 subpoenas(5 Oct. 2018 & 14 Dec. 2018)for specific,
          pertainent,and individual witnesess to be presented to the Alabama Board ofAppeals for
          EEOC Hearings persuant to Alabama Code 25-4-94

         9. Failure to produce the Health Records and statements ofPlantiffs injury to right wrist
          while employed at HMMA
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10. Causing undue stress, anxiety and medical issues for Plantiffrequiring medical
    treatment

   11. Denying the Plantiffs of his le Amendment Rights of life, Liberty and the
       Pursuit Of Happiness by firing for retaliation, not of Misconduct
